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 3
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 6
                          IN THE UNITED STATES DISTRICT COURT
 7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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                                                  )
10   UNITED STATES OF AMERICA,                    ) Case No.: 2:12-cr-0375-TLN
                                                  )
11
                   Plaintiff,                     ) NOTICE AND REQUEST TO SEAL
12                                                ) DOCUMENTS AND ORDER
            vs.                                   )
13                                                )
14   MICHAEL RAY TAYLOR, SR.,                     )
              Defendant.                          )
15                                                )
16
17
18                              REQUEST TO SEAL DOCUMENTS
19          Defendant, MICHAEL RAY TAYLOR Sr., by and through his attorney makes
20   this request to seal the following generally described documents pursuant to Federal
21   Rules of Criminal Procedure Rule 49.1 and 49 and Local Rule 141(b). Rule 49.1
22   provides privacy protections are statutorily implemented to protect information such as
23   social-security number, taxpayer-identification number, or birth date, the name of an
24   individual known to be a minor, a financial-account number, or the home address of an
25   individual, a party or nonparty. The reason for the sealing request is that the documents
26   contain home addresses and social security numbers of individuals who were issued
27   checks involved in this case and there is a need to protect this confidential information.
28   These documents requested to be sealed are requested to be remained sealed unless the

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 1   Court finds that unsealing is appropriate and the Court orders the documents to be
 2   unsealed.
 3          This Request to Seal documents, the documents to be sealed and the proposed
 4   order to seal the documents have been sent to the Court via Court’s proposed Orders e-
 5   mail address and been sent to all counsel in the case by their respective e-mail addresses.
 6   The Court’s authority to seal the documents is found in the Court’s inherent powers to
 7   run the Court’s own calendar and docket. The documents requested to be sealed are the
 8   following:
 9                 1- Exhibit A, photographs taken of documents seized from Donye Mitchell
10                 2- Exhibit C, table of unemployment checks
11
12   DATED: December 8, 2015                          Respectfully submitted,
13                                                    /s/ Thomas A. Johnson
                                                      THOMAS A. JOHNSON
14                                                    Attorney for Defendant
                                                      MICHAEL RAY TAYLOR, SR.
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 1                                           ORDER
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           Upon reading and considering the request to seal documents, and good cause being
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     shown, the Court hereby grants the request to seal the documents.
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     IT IS SO ORDERED.
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     Dated: December 9, 2015
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 9                                                          Troy L. Nunley
                                                            United States District Judge
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